 Fill in this information to identify the case:

 Debtor 1              Angelia L Slaughter
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                                                Kansas
 United States Bankruptcy Court for the: __________ District of __________

 Case number            22-20770-rdb
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                   PennyMac Loan Services, LLC                                                                    5
 Name of creditor: _______________________________________                           Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           2 ____
                                                         ____ 3 ____
                                                                  6 ____
                                                                      0              Must be at least 21 days after date       09/01/2024
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                             $1,776.66
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                   $473.01
                   Current escrow payment: $ _______________                       New escrow payment:                 $567.54
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔ No
      
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔ No
      
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


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                                                                                                                                    MS 211304
Debtor 1         Angelia   L Slaughter
                 _______________________________________________________                                            22-20770-rdb
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
     ✔ I am the creditor’s authorized agent.
     


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8 /s/ Pamela B. Leonard
     _____________________________________________________________
     Signature
                                                                                                Date     07/29/2024
                                                                                                         ___________________




 Print:             Pamela B. Leonard, #78248
                    _________________________________________________________                   Title   Attorney  for Creditor
                                                                                                        ___________________________
                    First Name                      Middle Name         Last Name



 Company            Millsap & Singer, LLC
                    _________________________________________________________



 Address            612 Spirit Drive
                    _________________________________________________________
                    Number                 Street

                    St. Louis, MO 63005
                    ___________________________________________________
                    City                                                State        ZIP Code



 Contact phone      (636) 537-0110
                    ________________________                                                           bkty@msfirm.com
                                                                                                Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                            page 2
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                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF KANSAS
                              KANSAS CITY DIVISION

In The Matter Of:                              )
                                               )    Case Number 22-20770-rdb
Angelia L Slaughter                            )
                                               )
    Debtor,                                    )    Chapter 13
                                               )
PennyMac Loan Services, LLC                    )
                                               )
    Creditor,                                  )
                                               )

                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document was filed
electronically on July 29, 2024, with the United States Bankruptcy Court, and has been
served on the parties in interest via e-mail by the Court pursuant to CM/ECF as set out
on the Notice of Electronic filing as issued by the Court or in the alternative has been
served by depositing a true and correct copy of same enclosed in a postage prepaid,
properly addressed envelope, in a post office official depository under the exclusive
care and custody of the United States Postal Service on those parties directed by the
Court on the Notice of Electronic Filing issued by the Court as required by the Federal
Rules of Bankruptcy Procedure and the Local Rules of the United States Bankruptcy
Court.

                                           /s/ Pamela B. Leonard



Electronic Mail Notice List

The following is the list of attorneys who are currently on the list to receive e-mail
notices for this case.

       Jeffrey L. Wagoner

       William H Griffin

       Office of the United States Trustee




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Manual Notice List

The following is a list of parties who are not on the list to receive e-mail notices for this
case (who therefore require manual noticing).

       Angelia L Slaughter
       2400 N 77th St
       Kansas City, KS 66109




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